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                                                                         THREE GATEWAY CENTER
                                                                         100 Mulberry Street, 15th Floor
                                                                         Newark, NJ 07102
                                                                         T: 973.757.1100
                                                                         F: 973.757.1090
                                                                         WALSH.LAW

Liza M. Walsh
Direct Dial: (973) 757-1101
lwalsh@walsh.law

                                                   June 28, 2024

VIA ECF
Honorable Robert Kirsch, U.S.D.J.
United States District Court, District of New Jersey
Clarkson S. Fisher Bldg. & U.S. Courthouse
402 East State Street
Trenton, New Jersey 08608

        Re:      In re Axon VieVu Antitrust Litigation
                 Case No. 3:23-cv-7182-RK-RLS

Dear Judge Kirsch:

        This firm, along with Jones Day, represents Defendant Axon Enterprise, Inc. (“Axon”) in
the above-captioned matter. Together with Defendant Safariland, LLC (“Safariland”), we
respectfully submit this request regarding the motion filed by the Federal Trade Commission
(“FTC”). Pursuant to the Court’s February 1, 2024 Order (Dkt. No. 52), Axon and Safariland
served motions to dismiss on Plaintiffs, the parties exchanged briefing, and once all briefing was
complete, the motions were filed on the docket; specifically, the motions were filed by Axon and
Safariland on May 18, 2024 (Dkt. Nos. 76, 78), Plaintiffs’ oppositions were filed on May 20, 2024
(Dkt. Nos. 80, 81), and reply briefs were filed on May 20 and 21, 2024 (Dkts. Nos. 83, 85).1 On
June 17, 2024, the FTC filed a motion for leave to file as amicus curiae. (Dkt. No. 86.) As
acknowledged in FTC’s motion, Defendants, as the parties seeking dismissal, should be afforded
an opportunity to respond to the FTC’s proposed brief, and Plaintiffs do not object to same. (Dkt.
No. 86-1 at 6.) Accordingly, Defendants respectfully request the Court’s permission to submit a
response, limited to 15 pages or less, to the FTC’s proposed brief by July 18, 2024.

       Should the Court approve Axon’s request, we respectfully request that this letter be “So
Ordered” and entered on the docket. We thank the Court for its consideration of this request, and
continued attention to this matter.


                                               Respectfully submitted,

                                               s/ Liza M. Walsh

                                               Liza M. Walsh

cc: All Counsel of Record (via email)


1 Axon also filed a motion to strike. (Dkt. Nos. 77, 82, 84.)
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                                   IT IS on this _____ day of ______, 2024
                                   SO ORDERED.


                                   _______________________________
                                   Hon. Robert Kirsch, U.S.D.J.
